                 4:19-cv-00969-DCN                Date Filed 09/29/20          Entry Number 32           Page 1 of 1

AO 450 (SCD 04/2010) Judgment in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                    Kelly Price Burnett                                )
                            Plaintiff                                  )
                       v.                                              )
    Andrew Saul, Commissioner of Social Security                       )      Civil Action No.: 4:19-969-DCN
                           Defendant                                   )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                   recover from the defendant (name)              the amount of                dollars ($   ),
which includes prejudgment interest at the rate of            %, plus postjudgment interest at the rate of           %, along with
costs.
’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                            .
O other: This case is remanded to the Commissioner for further administrative action.


This action was (check one):
’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable David C. Norton, United States District Judge, who declined to adopt the Report
and Recommendation of the Honorable Thomas E. Rogers, III, United States Magistrate Judge.

                                                                                  ROBIN L. BLUME
Date: September 29, 2020                                                     CLERK OF COURT


                                                                             s/ Glenda J. Nance
                                                                                         Signature of Clerk or Deputy Clerk
